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     Oklahoma City PD
     Call For Service 2024-CFS-00016477 (Report 2 of 2)



     Call For Service 2024-CFS-00016477
     Primary Oﬃcer: Layman, Colton (57124)
     Assigned District: Springlake



     Overview
     Overview
      CAD INCIDENT NUMBER                        RECORDS INCIDENT NUMBER   RESPONSE DATE                            AGENCY TYPE
      202401-0020006                             2024-0002121              2024-01-09T21:08:15+00:00                Oklahoma City Police Dept
      COMMENTS
      [Jan 9 2024 3:09PM] [VP1442] [AT DHS]

      [Jan 9 2024 3:09PM] [VP1442] [EB I-44 APP WESTERN]

      [Jan 9 2024 3:09PM] [VP1442] [NEED UNIT FOR DRUG RELATED TRAFFIC STOP]

      [Jan 9 2024 3:11PM] [VP1442] [RED TOYOTA INDIAN TAG]

      [Jan 9 2024 3:11PM] [VP1442] [SB ON BROADWAY / I-44]

      [Jan 9 2024 3:12PM] [VP1442] [SB BROADWAY APP 36]

      [Jan 9 2024 3:12PM] [VP1442] [TRIBAL TAG]

      [Jan 9 2024 3:13PM] [VP1442] [N16 APP 23 IN LANE 1 ]

      [Jan 9 2024 3:13PM] [VP1442] [N16 PASSED 23..#3LANE ]

      [Jan 9 2024 3:14PM] [VP1442] [N16 I-235 SB 6TH ST #1 LANE ]

      [Jan 9 2024 3:15PM] [VP1442] [N16 NOT SIGNALLING....69 MPH ]

      [Jan 9 2024 3:15PM] [VP1442] [N16 OCCUPIED 2X ]

      [Jan 9 2024 3:15PM] [AH9628] [GB SFE]

      [Jan 9 2024 3:15PM] [VP1442] [N16 JUST NOW APP JUNCTION I-235/I-40]

      [Jan 9 2024 3:16PM] [VP1442] [N16 EB I-40 / I-235]

      [Jan 9 2024 3:16PM] [VP1442] [SFE ALSO ADVD]

      [Jan 9 2024 3:17PM] [VP1442] [N16 OHP IS ALSO GETTING INVOLVED..WILL DO FELONY STOP IF GET THERE FIRST ]

      [Jan 9 2024 3:17PM] [VP1442] [N16 WLL BE OHP DEAL...OCPD TREAT IT LIKE A TRAFFIC STOP ]

      [Jan 9 2024 3:17PM] [VP1442] [N16 I-40 EB APP SCOTT ]

      [Jan 9 2024 3:18PM] [VP1442] [UNIT ASKING IF MAROON SEDAN..SAID 10-4 WITH INDIAN TAG ]

      [Jan 9 2024 3:19PM] [VP1442] [1C16 EXITING SUNNYLANE / I-40 ..WA]

      [Jan 9 2024 3:19PM] [VP1442] [N16 YES THATS IT ]

      [Jan 9 2024 3:19PM] [VP1442] [1C16 EB I40 PASSING SUNNYLANE APP 15TH ST EXIT ]

      [Jan 9 2024 3:20PM] [VP1442] [1C16 10-70 I-40/SOONER,,,SIGNALLING ...]

      [Jan 9 2024 3:20PM] [VP1442] [1C16 0485 OCCUPIED 2X..EXITING ..10-33...1C18 AND 1C32 97 WITH HIM ]

      [Jan 9 2024 3:20PM] [VP1442] [10-33]




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                                                                                                                                   ANN_000255
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     Overview (continued)
     Overview

      [Jan 9 2024 3:20PM] [VP1442] [OHP IS ALMOST 97]

      [Jan 9 2024 3:20PM] [VP1442] [WERE STILL ROLLING]

      [Jan 9 2024 3:21PM] [VP1442] [OHP SAID OCPD TREAT IT LIKE TRAFFIC STOP]

      [Jan 9 2024 3:21PM] [VP1442] [[Query] , NCIC Plate Check: 0485,OK,TR,2024]

      [Jan 9 2024 3:21PM] [VP1442] [0485 TRIBAL NOT COMING BACK WITH VALID 10-28]

      [Jan 9 2024 3:22PM] [VP1442] [1C32 10-64 ]

      [Jan 9 2024 3:24PM] [VP1442] [U41 DOG AVAIL?]

      [Jan 9 2024 3:24PM] [VP1442] [U41 NEED A DRUG DOG ]

      [Jan 9 2024 3:25PM] [VP1442] [PER K7 CK WITH CITGO OR PROJECTS]

      [Jan 9 2024 3:25PM] [VP1442] [Secondary Location for 1C16: I-40/SOONER.]

      [Jan 9 2024 3:25PM] [VP1442] [Secondary Location for 1C32: I-40/SOONER.]

      [Jan 9 2024 3:25PM] [VP1442] [Secondary Location for U41: I-40/SOONER.]

      [Jan 9 2024 3:25PM] [VP1442] [Secondary Location for 1C114: I-40/SOONER.]

      [Jan 9 2024 3:25PM] [VP1442] [Secondary Location for 1C12: I-40/SOONER.]

      [Jan 9 2024 3:25PM] [VP1442] [Secondary Location for 1C18: I-40/SOONER.]

      [Jan 9 2024 3:26PM] [BH2018-HOFFMAN, BRYAN R] [Source: AR060015Y

      DR.AR060015Y

      14:26 01/09/2024 77303

      14:26 01/09/2024 40597 OK05536Y8

      *MRID197956

      TXT

      NAM/BILLS, GLORIA, LESHELL RAC/B SEX/F DOB/19950405 HGT/501 WGT/207 EYE/BRO HAI/BLK

      ARKANSAS DRIVER HISTORY FOR CSN: 000000000

      BILLS,GLORIA,LESHELL DLN: 940590103

                                           DOB:         -95

      TEXARKANA MILLER AR 71854 ISSUED: 12-29-17

      SEX: F RACE: B EXPIRES: 04-05-26

      EYE: BRO HAIR: BLK HGT:501 WGT:207 TOTAL POINTS: 000

      VOLUNTARY ENHANCED SECURITY: NO CARD CONTROL#: 1781022720

      ORGAN DONOR: NO

      MEDICAL CERT: CODE-N STATUS-Not Certiﬁed

      CLASS: D STATUS: NCL- Valid CDL- N/A



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                                                                                                                                  ANN_000256
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     Oklahoma City PD
     Call For Service 2024-CFS-00016477 (Report 2 of 2)



     Overview (continued)
     Overview

      ENDORSEMENTS: * NONE * RESTRICTIONS: * NONE *

      ------------------------------------------------------------------------------

      *************************************Other************************************

      Transferred license to Arkansas from Oklahoma on 12/29/2017

      Offense Conviction Offense Court DLN CMV HAZ

      Date Date Location MAT

      ------------------------------------------------------------------------------

      ****************************Stand Alone Violation*****************************

      08/16/19 09/17/19 SPEED DTAIL 6584 Pulaski County DC 940590103 No No

      ****END OF RECORD ****]

      [Jan 9 2024 3:26PM] [BH2018-HOFFMAN, BRYAN R] [DRIVER INFO BELOW]

      [Jan 9 2024 3:26PM] [CB1955-BELONCIK, CLIFFORD A] [PASSENGER -                   -3989

      TXT

      QUERY DATA H994227708

      *** DRIVER DETAILS ***

      NAME: MONDALE LARUE GOLSTON

      DATE OF BIRTH: 1992

      EYE COLOR: Hazel

      HEIGHT: 507

      RACE: Black or African American

      GENDER: Male

      SSN: 5316

      WEIGHT: 190

      *** DRIVER LICENSE DETAILS ***

      DRIVER AUTHORIZATION ID: H994227708

      EXPIRATION DATE: 2027-09-30

      ISSUE DATE: 2023-09-11

      DRIVER LICENSE COMMERCIAL STATUS: No License Issued

      DRIVER LICENSE NON-COMMERCIAL CLASS: D

      DRIVER LICENSE NON-COMMERCIAL STATUS: Valid

      DRIVER LICENSE PERMIT QUANTITY: 0

      LICENSED COMMERCIAL DRIVER: NO



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                                                                                                                                        ANN_000257
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     Oklahoma City PD
     Call For Service 2024-CFS-00016477 (Report 2 of 2)



     Overview (continued)
     Overview

      LICENSED NON-COMMERCIAL DRIVER: YES

      *** ADDRESS INFORMATION ***

      RESIDENCE                              Idabel,74745-5712

      COUNTRY: USA

      COUNTY: McCurtain

      LOCATION COUNTY: McCurtain

      PRIMARY CONTACT ADDRESS:                                   Idabel,OK 74745-5712

      COUNTRY: USA

      COUNTY: McCurtain

      LOCATION COUNTY: McCurtain

      *** ADDITIONAL INFORMATION ***

      MEDICAL CERTIFICATE DATA

      Medical Certiﬁcate Status Code N

      STATE ELEMENT: Sex Offender Indication No]

      [Jan 9 2024 3:27PM] [VP1442] [L414 WAS ASSIGNED IN ERROR]

      [Jan 9 2024 3:40PM] [VP1442] [[Notiﬁcation] [Oklahoma City Police Dept]-Problem changed from TRAFFIC STOP <TRAFIC to OFFICER ASSIST-NON-
      PRIORITY<303 by Oklahoma City Police Dept]

      [Jan 9 2024 3:47PM] [BH2018-HOFFMAN, BRYAN R] [BOTH CLEAR OF WARRANTS]

      [Jan 9 2024 4:15PM] [CW2788] [Secondary Location for 1C18: va oﬃce 122/kelley.]

      [Jan 9 2024 4:15PM] [CW2788] [Secondary Location for U41: VA OFFICE.]

      [Jan 9 2024 4:15PM] [CW2788] [U41 FEM SMG 34]

      [Jan 9 2024 4:16PM] [CB1955-BELONCIK, CLIFFORD A] [DEA oﬃce**]

      [Jan 9 2024 4:18PM] [CW2788] [Requested Case Number(s) issued for Incident #[202401-0020006], Jurisdiction: SPRINGLAKE. Case Number(s):
      OCPD2024-0002121. requested by U41.]

      [Jan 9 2024 4:20PM] [BH2018-HOFFMAN, BRYAN R] [STANDING BY FOR OHP WRECKER TO SHOW UP]

      [Jan 9 2024 4:29PM] [BH2018-HOFFMAN, BRYAN R] [OKLAHOMA TAX COMMISSION

      RESPONSE FOR LIC/04859CH

      *** REGISTRATION INFO ***

      Primary Plate: 04859CH Plate Type: TSG (NCIC Plate Type: PC)

      Decal ID: 24T414874 Decal Type: DV

      Effective Date: 01/09/2024 Expiration Date: 12/31/2024

      Last Updated: 01/09/2024 Agent Number: 1219

      Last Issued Date: 01/09/2024



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                                                                                                                                       ANN_000258
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     Oklahoma City PD
     Call For Service 2024-CFS-00016477 (Report 2 of 2)



     Call For Service 2024-CFS-00016477
     Primary Oﬃcer: Layman, Colton (57124)
     Assigned District: Springlake



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                                                                                                                                   ANN_000255
